Case 8:20-cv-01956-PJM Document 87-1 Filed 06/18/21 Page 1 of 4




               EXHIBIT 1
        Case 8:20-cv-01956-PJM Document 87-1 Filed 06/18/21 Page 2 of 4



         SUMMARY OF SETTLEMENTS BETWEEN CIVIL RIGHTS ADVOCATES
                                        AND FACEBOOK
                Housing, Employment, and Credit Advertising Reforms
Today, civil rights organizations, labor groups, and Facebook announced historic settlements of
numerous legal actions alleging that Facebook’s advertising platform enabled discrimination in
housing, employment, and credit advertising. Under the settlements, Facebook will implement
sweeping changes to its ad platform to prevent advertisers for housing, employment or credit
from discriminating based on race, national origin, ethnicity, age, sex, sexual orientation,
disability, family status, or other characteristics covered by federal, state, and local civil rights
laws. The settlements resolve lawsuits and charges filed between November 2016 and
September 2018 by the National Fair Housing Alliance (NFHA), Communications Workers of
America (CWA), several regional fair housing organizations, and individual consumers and job
seekers, represented by the ACLU, Outten & Golden LLP, Emery Celli Brinckerhoff & Abady LLP,
and other counsel. The cases, plaintiffs, and their respective counsel are identified below.
                                   Overview of the Settlements
In the settlements, Facebook will undertake far-reaching changes and steps that will prevent
discrimination in housing, employment, and credit advertising on Facebook, Instagram, and
Messenger. These changes demonstrate real progress.
    •   Facebook will establish a separate advertising portal for creating housing,
        employment, and credit (“HEC”) ads on Facebook, Instagram, and Messenger that will
        have limited targeting options, to prevent discrimination.
    •   The following rules will apply to creating HEC ads.
            o Gender, age, and multicultural affinity targeting options will not be available
              when creating Facebook ads.
            o HEC ads must have a minimum geographic radius of 15 miles from a specific
              address or from the center of a city. Targeting by zip code will not be permitted.
            o HEC ads will not have targeting options that describe or appear to be related to
              personal characteristics or classes protected under anti-discrimination laws. This
              means that targeting options that may relate to race, color, national origin,
              ethnicity, gender, age, religion, family status, disability, and sexual orientation,
              among other protected characteristics or classes, will not be permitted on the
              HEC portal.
            o Facebook’s “Lookalike Audience” tool, which helps advertisers identify Facebook
              users who are similar to advertisers’ current customers or marketing lists, will no
         Case 8:20-cv-01956-PJM Document 87-1 Filed 06/18/21 Page 3 of 4
Joint statement from Facebook, NFHA, CWA, ECBA, O&G, & ACLU


              longer consider gender, age, religious views, zip codes, Facebook Group
              membership, or other similar categories when creating customized audiences for
              HEC ads.
           o Advertisers will be asked to create their HEC ads in the HEC portal, and if
             Facebook detects that an advertiser has tried to create an HEC ad outside of the
             HEC portal, Facebook will block and re-route the advertiser to the HEC portal
             with limited options.
    •   Facebook will create a page where Facebook users can search for and view all current
        housing ads that have been placed by advertisers for the rental, sale, or finance of
        housing or for real estate related transactions (such as appraisals and insurance),
        regardless of whether users have received the housing ads on their News Feeds.
    •   Facebook will require advertisers to certify that they are complying with Facebook’s
        policies prohibiting discrimination and all applicable anti-discrimination laws.
    •   Facebook will provide educational materials and features to inform advertisers about
        Facebook’s policies prohibiting discrimination and anti-discrimination laws.
    •   Facebook will meet regularly with the Plaintiffs and their counsel to report on and
        discuss the implementation of the terms of the settlements.
    •   Facebook will permit the Plaintiffs to engage in testing of Facebook’s ad platform to
        ensure the reforms established under the settlements are implemented effectively.
    •   Facebook will work with NFHA to develop a training program for Facebook’s
        employees on fair housing and fair lending laws.
    •   Facebook will engage academics, researchers, experts, and civil rights and liberties
        advocates, including the Plaintiffs, to study the potential for unintended biases in the
        algorithmic modeling used by social media platforms.


                                     Legal Actions Settled
Between 2016 and 2018, five discrimination lawsuits and charges were filed against Facebook
by civil rights groups, a national labor organization, workers, and consumers. The cases that
have been settled today are:
    •   Mobley et al. v. Facebook (N.D. Cal.) (filed in November 2016) – people of color
        challenged race and national origin discrimination in employment, housing, and credit
        ads. They are represented by Outten & Golden LLP, Aqua Terra Aeris Law Group, and
        the Law Office of William Most.


                                               2
         Case 8:20-cv-01956-PJM Document 87-1 Filed 06/18/21 Page 4 of 4
Joint statement from Facebook, NFHA, CWA, ECBA, O&G, & ACLU


     •   National Fair Housing Alliance et al. v. Facebook (S.D.N.Y.) (filed in March 2018) – the
         National Fair Housing Alliance, Fair Housing Justice Center (New York, NY), Housing
         Opportunities Project for Excellence, Inc. (Miami, FL), and Fair Housing Council of
         Greater San Antonio (San Antonio, TX) challenged discrimination in housing ads based
         on race, national origin, sex, familial status, and disability. They are represented by
         Emery Celli Brinckerhoff & Abady LLP.
     •   Communications Workers of America et al. v. Facebook (EEOC) (filed in January 2018)
         – Communications Workers of America and several older workers challenged age
         discrimination in employment ads. They are represented by Outten & Golden LLP.
     •   Spees et al. v. Facebook (EEOC) (filed in September 2018) – several women and the
         Communications Workers of America challenged sex discrimination in employment ads.
         They are represented by the American Civil Liberties Union and Outten & Golden LLP.
     •   Riddick v. Facebook (N.D. Cal.) (filed in November 2016) – individuals challenged
         discrimination based on numerous protected classes in various types of advertising.
         They are represented by the Law Office of Joe Grant and the Law Office of Al Rava.
These cases collectively targeted a range of audience selection tools on Facebook’s ad platform.
Plaintiffs alleged that Facebook’s ad platform enabled advertisers to exclude certain users from
seeing housing, employment, and credit opportunities in a discriminatory fashion in violation of
federal, state, and/or local civil rights laws. In particular, the Plaintiffs challenged: (1) the ability
of HEC advertisers to include or exclude Facebook users from receiving their ads based on their
sex or age, or based on interests, behaviors, or demographics that the plaintiffs alleged relate
to or are associated with race, national origin, sex, age, or family status; (2) the ability of HEC
advertisers to set a narrow geographic area so that only Facebook users within that area would
receive the ads, which they alleged could have an adverse impact based on race or national
origin; and (3) Facebook’s Lookalike Audience tool that allowed an advertiser to create
audiences of Facebook users that had common characteristics with the advertiser’s current
customers or other groups, which Plaintiffs alleged could have an adverse impact on various
groups, including based on gender, race, and age.




                                                   3
